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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                          MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                           Case No. C-07-5944 JST

                                   9                                                           ORDER FOR SUPPLEMENTAL
                                        This Order Relates To:                                 BRIEFING REGARDING MOTIONS
                                  10                                                           RELYING ON THE FTAIA
                                  11    ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13           The Court previously asked parties whether supplemental briefing would be helpful to

                                  14   determination of the parties’ motions for summary judgment relating to the Foreign Trade

                                  15   Antitrust Improvement Act. See ECF No. 4219. The parties have now stated that such briefing

                                  16   would be helpful, see ECF No. 4231 at 1, and the Court agrees.

                                  17           Pursuant to the parties’ suggestion, id., each side’s 12-page brief is due 30 days from today.

                                  18   Briefs are subject to all subject matter, length, and other limitations described in the Court's prior

                                  19   order. ECF 4219.

                                  20           IT IS SO ORDERED.

                                  21   Dated: December 10, 2015
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                                                                                                         JON S. TIGAR
                                  23                                                               United States District Judge

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